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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:04CR3081
          v.                        )
                                    )
MALCOLM ANDERSON and                )
BRIAN PARKER,                       )                    ORDER
                                    )
                Defendants.         )



     IT IS ORDERED:

     1. Defendant Parker’s motion for continuance, filing 72, is
granted and trial as to both defendants is continued from June 6
to August 15, 2005 at 9:00 a.m. for a duration of three days
before the Honorable Richard G. Kopf in Courtroom 1, United
States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. Jury selection will be held at
commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
June 1, 2005 and August 15, 2005 shall be deemed excludable time
in any computation of time under the requirements of the Speedy
Trial Act, for the reason that the parties require additional
time to adequately prepare the case, taking into consideration
due diligence of counsel, the novelty and complexity of the case,
and the fact that the failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).

     DATED this 1st day of June, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
